       Case 15-07507                Doc 45         Filed 06/20/20 Entered 06/20/20 23:15:05                           Desc Imaged
                                                  Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Alberto F Salgado                                              Social Security number or ITIN   xxx−xx−2342

                      First Name   Middle Name   Last Name                           EIN   _ _−_ _ _ _ _ _ _

Debtor 2                                                                             Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name   Last Name
                                                                                     EIN   _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Northern District of Illinois

Case number: 15−07507




Order of Discharge                                                                                                                  12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Alberto F Salgado

               If the trustee has filed and served a notice pursuant to Bankruptcy Rule 3002.1(f), and no statement is timely filed by
               the mortgagee in response, the mortgage addressed by the notice is deemed to be fully current as of the date of the
               notice.


               June 18, 2020                                                For the court:          Jeffrey P. Allsteadt, Clerk
                                                                                                    United States Bankruptcy Court



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                               Most debts are discharged
                                                                             Most debts are covered by the discharge, but not all.
                                                                             Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                    liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                    In a case involving community property: Special rules
attempt to collect a discharged debt from the                                protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                            spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                  case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                            Some debts are not discharged
debtors by mail, phone, or otherwise in any                                  Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                       ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                       ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                 ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                           U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                      523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                       the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                           For more information, see page 2




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    ♦ debts that the bankruptcy court has                       ♦ debts for restitution, or damages,
      decided or will decide are not discharged                   awarded in a civil action against the
      in this bankruptcy case;                                    debtor as a result of malicious or willful
                                                                  injury by the debtor that caused
                                                                  personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,                  death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                                ♦ debts for death or personal injury
                                                                  caused by operating a vehicle while
    ♦ some debts which the debtors did not                        intoxicated.
      properly list;

                                                         In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §               creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment           is also liable on the debt, such as an insurance
      or other transfer is due after the date on         company or a person who cosigned or
      which the final payment under the plan             guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases                This information is only a general
      made after the bankruptcy case was filed if         summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of           exceptions exist. Because the law is
      incurring the debt was practicable but was          complicated, you should consult an
      not obtained;                                       attorney to determine the exact effect of
                                                          the discharge in this case.




Form 3180W                               Chapter 13 Discharge                              page 2
        Case 15-07507        Doc 45    Filed 06/20/20 Entered 06/20/20 23:15:05             Desc Imaged
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                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 15-07507-CAD
Alberto F Salgado                                                                       Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0752-1           User: dpruitt                Page 1 of 2                   Date Rcvd: Jun 18, 2020
                               Form ID: 3180W               Total Noticed: 59


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 20, 2020.
db             +Alberto F Salgado,    136 E. Armitage Ave.,    Addison, IL 60101-4814
23003426       +Capital One Auto Finance,     1680 Capital One Drive,    Mc Lean, VA 22102-3407
23003431       +Department of Education,    FedLoan Servicing,     PO Box 69184,    Harrisburg, PA 17106-9184
23003430      #+Department of Education,    FedLoan Servicing,     PO Box 530210,    Atlanta, GA 30353-0210
23003433       +Enhanced Recovery Co,    Po Box 3002,    Southeastern, PA 19398-3002
23003435       +Equifax Information Services, LLC,     1550 Peachtree Street NW,     Atlanta, GA 30309-2468
23003436       +Experian Information Solutions, Inc.,     475 Anton Boulevard,     Costa Mesa, CA 92626-7037
23003437       +FedLoan Servicing,    Po Box 60610,    Harrisburg, PA 17106-0610
23003439       +ICS Collection Service,    Po box 1010,    Tinley Park, IL 60477-9110
23003440       +Illinois Collection Service,     8231 185th Street, Suite 100,     Tinley Park, IL 60487-9356
23003441       +Illinois Collection Service Inc,     PO Box 1010,    Tinley Park, IL 60477-9110
23003442       +Illinois Collection Service/ICS,     Illinois Collection Service,     Po Box 1010,
                 Tinley Park, IL 60477-9110
23003445       +Illinois Tollway,    P.O. Box 5201,    Lisle, IL 60532-5201
23003446       +Illinois Tollway,    PO Box 5544,    Chicago, IL 60680-5491
23003444        Illinois Tollway,    270 Ogden Avenue,    Downers Grove, IL 60515
23003448       +Illinois Tollway Authority,     2700 Ogden Avenue,    Downers Grove, IL 60515-1703
23003447       +Illinois Tollway Authority,     PO Box 5201,   Lisle, IL 60532-5201
23003453       +MCSI Inc,   7330 College Drive, Suite 108,     Palos Heights, IL 60463-1186
23003452       +Mcsi Inc,   Po Box 327,    Palos Heights, IL 60463-0327
23277068       +National Collegiate Student Loan Trust-2006-4,      Po Box 4275,    Norcross, GA 30091-4275
23134355       +PEOPLES GAS LIGHT & COKE COMPANY,     200 EAST RANDOLPH STREET,     CHICAGO, ILLINOIS 60601-6433
23003455       +Peoples Gas Light & Coke Company,     130 E. Randolph Street,     Chicago, IL 60601-6207
23003458       +Resurrection Health Care,     7435 West Talcott Avenue,    Chicago, IL 60631-3746
23003459       +Resurrection Immediate Care,     4900 North Cumberland Avenue,     Harwood Heights, IL 60706-2901
23003462        Trans Union LLC,    P.O. Box 2000,    Chester, PA 19016-2000
23003467       +Tsi/980,   600 Holiday Drive,     Matteson, IL 60443-2241
23304192        U. S. Department of Education,     c/o FedLoan Servicing,    P. O. Box 69184,
                 Harrisburg, PA    17106-9184
23003468       +Village of Harwood Heights,     7300 W. Wilson Avenue,    Harwood Heights, IL 60706-4708
23003469       +Weisfield Jewelers/Sterling Jewelers Inc,     Attn: Bankruptcy,     Po Box 1799,
                 Akron, OH 44309-1799

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +E-mail/Text: bncnotice@tomvaughntrustee.com Jun 19 2020 02:01:27        Tom Vaughn,
                 55 E. Monroe Street, Suite 3850,    Chicago, IL 60603-5764
23003422       +EDI: PHINHARRIS Jun 19 2020 05:53:00      Arnold Scott Harris, P.C,
                 111 West Jackson Boulevard, Suite 600,    Chicago, IL 60604-3517
23003423       +E-mail/Text: bk@blittandgaines.com Jun 19 2020 02:00:45        Blitt & Gaines, P.C.,
                 661 W. Glenn Avenue,    Wheeling, IL 60090-6017
23003424       +EDI: CAPITALONE.COM Jun 19 2020 05:53:00       Capital One,    Attn: General Correspondence,
                 Po Box 30285,    Salt Lake City, UT 84130-0285
23156410       +EDI: AISACG.COM Jun 19 2020 05:53:00      Capital One Auto Finance,
                 c/o AIS Portfolio Services LP,    fka AIS Data Services,     4515 N Santa Fe Ave Dept APS,
                 Oklahoma City, OK 73118-7901
23003425       +EDI: CAPONEAUTO.COM Jun 19 2020 05:53:00       Capital One Auto Finance,    3905 N Dallas Parkway,
                 Plano, TX 75093-7892
23019469       +EDI: AISACG.COM Jun 19 2020 05:53:00      Capital One Auto Finance, a division of Capital On,
                 P.O. Box 201347,    Arlington, TX 76006-1347
23265986        EDI: CAPITALONE.COM Jun 19 2020 05:53:00       Capital One Bank USA NA,
                 by American InfoSource LP as agent,    PO Box 71083,    Charlotte, NC 28272-1083
23003428       +EDI: AIS.COM Jun 19 2020 05:53:00      Capital One, N.A. *,     c/o American Infosource,
                 P.O Box 54529,    Oklahoma City, OK 73154-1529
23003429       +EDI: CAPITALONE.COM Jun 19 2020 05:53:00       Capital One, N.A.*,    1680 Capital One Drive,
                 Mc Lean, VA 22102-3407
23003432       +E-mail/Text: bknotice@ercbpo.com Jun 19 2020 02:01:06        Enhanced Recovery Co,
                 8014 Bayberry Road,    Jacksonville, FL 32256-7412
23003434       +E-mail/Text: bknotice@ercbpo.com Jun 19 2020 02:01:07        Enhanced Recovery Corp,
                 Attention: Client Services,    8014 Bayberry Rd,    Jacksonville, FL 32256-7412
23003438       +EDI: PHINHARRIS Jun 19 2020 05:53:00      Harris & Harris , Ltd.,
                 222 Merchandise Mart Plaza, Suite 1900,     Chicago, IL 60654-1421
23140229        E-mail/Text: rev.bankruptcy@illinois.gov Jun 19 2020 02:00:58
                 Illinois Department of Revenue,    Bankruptcy Section,     P.O. Box 64338,
                 Chicago, Illinois 60664-0338
23003443        E-mail/Text: rev.bankruptcy@illinois.gov Jun 19 2020 02:00:58
                 Illinois Department of Revenue,    Bankruptcy Section,     PO Box 64338,   Chicago, IL 60664-0338
23003460        E-mail/Text: rev.bankruptcy@illinois.gov Jun 19 2020 02:00:58
                 State of Illinois: Department of Revenue,     PO Box 19006,    Springfield, IL 62794
23003450        EDI: IRS.COM Jun 19 2020 05:53:00      Internal Revenue Service,     PO Box 21126,
                 Philadelphia, PA 19114
23003451       +E-mail/Text: BKRMailOPS@weltman.com Jun 19 2020 02:00:48        Kay Jewelers,
                 Sterling Jewelers, Inc.,    375 Ghent Road,    Fairlawn, OH 44333-4600
23430429        EDI: Q3G.COM Jun 19 2020 05:53:00      Quantum3 Group LLC as agent for,     Comenity Bank,
                 PO Box 788,    Kirkland, WA 98083-0788
           Case 15-07507           Doc 45       Filed 06/20/20 Entered 06/20/20 23:15:05                         Desc Imaged
                                               Certificate of Notice Page 4 of 4


District/off: 0752-1                  User: dpruitt                      Page 2 of 2                          Date Rcvd: Jun 18, 2020
                                      Form ID: 3180W                     Total Noticed: 59


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
23032241        EDI: Q3G.COM Jun 19 2020 05:53:00       Quantum3 Group LLC as agent for,    Sterling Jewelers Inc,
                 PO Box 788,    Kirkland, WA 98083-0788
23003456       +E-mail/Text: clientservices@recoverypartners.com Jun 19 2020 02:01:45        Recovery Partners,
                 4151 N. Marshall Way,    Scottsdale, AZ 85251-3839
23003461       +E-mail/Text: BKRMailOPS@weltman.com Jun 19 2020 02:00:48       Sterling Jewelers, Inc.,
                 375 Ghent Road,    Akron, OH 44333-4600
23003463       +E-mail/Text: bankruptcydepartment@tsico.com Jun 19 2020 02:01:33       Transworld System Inc,
                 Pob 15943,    Wilmington, DE 19850-5943
23003465       +E-mail/Text: bankruptcydepartment@tsico.com Jun 19 2020 02:01:34       Transworld Systems,
                 1375 E. Woodfield Road, #110,    Schaumburg, IL 60173-5423
23003466       +E-mail/Text: bankruptcydepartment@tsico.com Jun 19 2020 02:01:34       Transworld Systems Inc.,
                 507 Prudential Road,    Horsham, PA 19044-2308
23003473       +EDI: WFFC.COM Jun 19 2020 05:53:00       WFS Financial/Wells Fargo Dealer Service,    Po Box 3569,
                 Rancho Cucamonga, CA 91729-3569
23223694        EDI: WFFC.COM Jun 19 2020 05:53:00       Wells Fargo Bank, N.A., dba Wells Fargo Dealer Ser,
                 PO Box 19657,    Irvine, CA 92623-9657
23003470       +EDI: WFFC.COM Jun 19 2020 05:53:00       Wells Fargo Dealer Services,    P.O. Box 1697,
                 Winterville, NC 28590-1697
23003471       +EDI: WFFC.COM Jun 19 2020 05:53:00       Wells Fargo Financial Bank,   4137 121st Street,
                 Urbandale, IA 50323-2310
23003472       +EDI: WFFC.COM Jun 19 2020 05:53:00       Wells Fargo Financial Illinois, Inc,
                 435 Ford Road, Suite 300,    Minneapolis, MN 55426-4938
                                                                                               TOTAL: 30

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
23003427*        +Capital One Auto Finance,    3905 N, Dallas Parkway,    Plano, TX 75093-7892
23003449*         Internal Revenue Service,    PO Box 7346,   Philadelphia, PA 19101-7346
23003457*        +Recovery Partners Llc,    4151 N Marshall Way,    Scottsdale, AZ 85251-3839
23003454       ##+National Collegiate Trust,    American Education Services,    One Cabot Road,
                   Medford, MA 02155-5128
23003464       ##+Transworld Systems,    2235 Mercury Way, Ste 275,    Santa Rosa, CA 95407-5463
                                                                                                                    TOTALS: 0, * 3, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 20, 2020                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 18, 2020 at the address(es) listed below:
              Charles L. Magerski    on behalf of Debtor 1 Alberto F Salgado Cmagerski@sulaimanlaw.com,
               charles@clmlawgroup.com;magerskicr85454@notify.bestcase.com
              Jennifer M Rinn    on behalf of Creditor    Capital One Auto Finance Jennifer@rinnrichmanlaw.com
              Joseph S Davidson    on behalf of Debtor 1 Alberto F Salgado jdavidson@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ecfnotice@sulaimanlaw.com;sulaiman.igotnotices@g
               mail.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.com;cjohnson@sulaimanlaw.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Terri M Long    on behalf of Creditor    Wells Fargo Bank N.A. d/b/a Wells Fargo Dealer Services
               Courts@tmlong.com
              Tom Vaughn    ecf@tvch13.net, ecfchi@gmail.com
                                                                                              TOTAL: 6
